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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                          §
    In re:                                                §     Chapter 11 (Subchapter V)
    FREE SPEECH SYSTEMS LLC,                              §
                                                          §     Case No. 22-60043 (CML)
                                                          §
                                     Debtor.              §     Jointly Administered

          SUPPLEMENT TO SUBCHAPTER V TRUSTEE’S INITIAL FINDINGS
                OF FREE SPEECH SYSTEMS, LLC INVESTIGATION
                           [Related to Docket Nos. 549 & 550]

        Melissa Haselden, the subchapter V trustee (the “Trustee”) in the above captioned case
hereby files this supplement (“Supplement”) to the Subchapter V Trustee’s Initial Findings of Free
Speech Systems, LLC Investigation filed with the Court on April 4, 2023 (“Trustee’s Report”).
This Supplement is filed to provide the Court with an update on issues raised in Trustee’s Report
and to highlight additional issues currently under investigation.

                                                     I.       Updates

        Bitcoin/Cryptocurrency Update – Trustee previously reported that prior to the Petition
Date, FSS received $7,547,141.61in Bitcoin/cryptocurrency donations (the “Bitcoin Donations”).
These donations were made through the InfoWars website and into a digital wallet owned by Alex
Jones1. Financial advisors for Mr. Jones provided proof that $6,625,000 of the proceeds from the
sale of the Bitcoin were deposited into FSS bank accounts. The dedication of the remaining
$922,141.61 continued to be under investigation.

        Following the filing of the Trustee’s Report, Mr. Jones asserted that the Bitcoin Donations
were his property, not FSS. The basis for the position is the fact that the funds were deposited in
Jones personal digital wallet2. Mr. Jones asserts that the $6,625,000 in Bitcoin Donations were his
funds and were remitted to FSS as an equity contribution. Further, Mr. Jones has indicated that he
accounted for the sale of the Bitcoin/cryptocurrency as personal income/loss on his tax return. As
further discussed below, ownership of the Bitcoin Donations remains an open and disputed issue.

        Although Mr. Jones claims that the Bitcoin Donations are his property, Mr. Jones’ financial
advisors have reconciled the donations and determined that a substantial amount of the funds were
either remitted directly to FSS or utilized for the benefit of the company. In addition to the

1
  Upon information and belief, Mr. Jones digital wallet was historically maintained by employees of FSS, not Mr.
Jones.
2
  The CRO stated that he was informed that Bitcoin Donations were donated through Mr. Jones personal digital wallet
because FSS, as a business entity, could not be issued a digital wallet. Trustee also received this same information.
However, in March 2023, under the direction of the CRO, FSS obtained its own digital wallet and Mr. Jones digital
wallet is no longer utilized by FSS.
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$6,625,000 which was directly deposited into FSS bank account, Trustee has received
documentation of a payment from Bitcoin Donations in the amount of $344,043.00 which was
used to pay prepetition professional fees for the former CRO of FSS.

        Mr. Jones also asserts that Bitcoin Donations were also used to pay prepetition bonuses to
certain employees of FSS. Counsel for Mr. Jones has agreed to provide documentation of these
transactions to Trustee3 as well as other additional payments which benefitted FSS and could be
offset against Bitcoin Donations that have not been remitted to FSS.

        Additionally, counsel for FSS has indicated that, prior to FSS’ bankruptcy filing, it was
determined that the Bitcoin Donations were property of Mr. Jones individually, not FSS, and that
any funds remitted by Mr. Jones back to FSS were intended as equity contributions. Trustee has
not been provided with any documentation to substantiate how this decision was made or a basis
for the same, other than the fact that the cryptocurrency was deposited into Mr. Jones’ personal
digital wallet which makes it his property. The current CRO was not employed by the estate at
the time. The Trustee understands that the CRO has not made a determination as to ownership of
these prepetition donations.

       Last, Mr. Jones has indicated that $390,900 of the Bitcoin Donations was used to acquire
Platinum Product inventory sold on the FSS platform (“Platinum Product”). Documentation of
the wire transfer for this transaction was provided to Trustee. A dispute exists as to whether Mr.
Jones should receive credit for the $390,900 payment for the inventory purchase.

        Until recently, the Platinum Product was sold by FSS through a marketing agreement with
Elevated Solutions Group (“ESG”). Platinum Product typically accounts for less 5% of FSS’
weekly sales4. Upon information and belief, Mr. Jones and ESG were parties to a separate
agreement related to the Platinum Product whereby Jones purchased inventory and ESG marketed
the same. The CRO maintains that if the Bitcoin Donations are property of FSS, then Mr. Jones is
not entitled to any credit for the $390,900 inventory purchase because the funds used to purchase
the product were property of FSS and FSS is entitled to the value of the inventory purchased with
its funds. Conversely, if Mr. Jones personally owns the Bitcoin Donations, then no accounting is
required to FSS for the use of these funds. The parties are in discussion about potential resolution
of this matter. This issue remains open.

Mountain Way Marketing, LLC Update– Trustee previously reported that Mountain Way
Marketing sold post-petition advertising on FSS’ platform without compensating the company.
The initial $243,742.09 which was reported to have been collected has been repaid to FSS.
However, Mountain Way’s principal subsequently advised that he was paid an additional
$22,030.05 as a bonus in 20225. This amount has not yet been repaid to FSS. The principal of
Mountain Way has engaged counsel who is in discussions with counsel for FSS regarding the
repayment. Additionally, counsel for FSS has issued a demand for payment to Mountain Way.
This matter remains open.

3
  Trustee has been advised that the bonuses were paid through direct transfers of Bitcoin to the recipient employees’
digital wallets. Documentation from the cryptocurrency website was provided to Trustee but was indecipherable.
4
  Based upon weekly sales reconciliations provided by FSS.
5
  The initial documentation provided by Mountain Way was incomplete/inaccurate and did not reflect this payment.
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6
 See example of solicitations received by one customer attached hereto as Exhibit 1. The CRO has indicated that
FSS has received numerous similar complaints.
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Houston, TX
Dated: April 28, 2023               /s/ Elizabeth C. Freeman
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                                    Houston, TX 77208-1209
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                                    Counsel for Melissa Haselden, Subchapter V Trustee
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                               CERTIFICATE OF SERVICE

       I certify that on April 28, 2023 a true and correct copy of the above and foregoing was
served via CM/ECF to all parties registered to receive electronic notice.

                                           /s/ Elizabeth Freeman
                                           Elizabeth Freeman
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From: "Infowars Store Customer Service" <cshelpdesk@freespeechsystems.com>
To:
Cc: it@infowars.com
Sent: Friday, March 17, 2023 1:58:23 PM
Subject: [#10653] Fwd: Fwd: Welcome to InfoWars,

Hello!

Here is the other one he received!




How would you rate my reply?
Great Okay Not Good

Thank you,



Infowars Customer Support




                                                                      Mar 17, 13:53




Sent from my iPhone

Begin forwarded message:

From: REAL Alex Jones <AJ@officialalexjones.com>
Date: March 16, 2023 at 8:13:39 AM PDT
To:
Subject: Welcome to InfoWars,
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          Hey

          This is AJ.

          Welcome to InfoWars!

          I'm honored that you've decided to place
          your trust in me.

          I'm reaching out to you personally for two
          reasons…

          First, your purchase should arrive at your
          doorstep within 7 to 14 business days from
          when you placed the order.

          Our nutritional formulas and prepping gear
          are created to the highest quality standards.

          In fact, one of the top labs in the USA
          produces our supplements, and they are
          triple tested to ensure potency and purity.

          So again, I'm thrilled you've made a wise
          decision.

          With that said…

          This is what you can expect from my emails
          going forward:
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          As you know, I've been keeping an eye on the
          situation in our country.

          The REAL situation.

          I'm talking about the classified stuff our
          current administration does not want us to
          know.

          Are they keeping us in the dark because they
          want to control us?

          Or are they trying to prevent widespread
          panic?

          That's why I created this exclusive Inner
          Circle - so I can share unfiltered and accurate
          news for my most loyal subscribers.

          Because there's an onslaught of
          misinformation - spread by the media, the
          government, and companies who want to run
          the world into the ground.

          And I REFUSE to stand for it.

          As a subscriber to my exclusive Inner Circle,
          you'll be the first to know of threats to your
          American freedoms.

          You'll discover little-known ways to prepare
          for upcoming catastrophes…

          And I'll share breakthrough science on how
          to protect the health of your mind and body
          in a toxic world.

          Plus a whole lot more.
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          If you'd prefer not to hear from me, you can
          hit the Unsubscribe button at the top or
          bottom of this message.

          Basically, what I'm saying is, you're not alone
          anymore.

          We are in this together.

          Not just you and I…

          But also the countless other men and women
          who follow the Info Wars movement.

          That said, do you have any news topics or
          stories you'd like me to cover?

          If so, I want to hear from you.

          Reply to this email and let me know.

          (I personally read every email from my
          subscribers).


          Stay ready,
          AJ

          P.S. Oh… and one more thing.

          Keep your eyes peeled for my upcoming
          emails. I've prepared something I think you'll
          enjoy.

          Thanks again, and welcome.
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From: "Infowars Store Customer Service" <cshelpdesk@freespeechsystems.com>
To:
Cc: it@infowars.com
Sent: Friday, March 17, 2023 1:57:37 PM
Subject: [#10652] Fwd: [SPAM]Fwd: USA going to war?

Hello!

Forwarding the email from the Customer!




How would you rate my reply?
Great Okay Not Good

Thank you,



Infowars Customer Support




                                                                       Mar 17, 13:53




Sent from my iPhone

Begin forwarded message:

From: REAL Alex Jones <AJ@officialalexjones.com>
Date: March 16, 2023 at 9:01:25 PM PDT
To:
Subject: USA going to war?
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          Hey

          Will there be a WW3?

          It's a question on everyone's minds.

          But you know what most folks don't realize?

          The wars have already begun.

          Yes - wars.

          A war on your mind.

          A war on your body.

          And a war on your freedoms.

          All perpetuated by organizations and officials
          who'd rather make a quick buck than help
          Americans.

          It PISSES me off just thinking about it.

          For example…

          Did you know a chemical warfare agent was
          just discovered inside a popular American
          drink?
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          Or that China is buying farmland around US
          military bases?

          Bet you didn't hear about those on CNN,
          huh?

          Look - the cronies in charge don't know what
          they're doing, and more folks are going to
          end up in caskets if we don't stand up to this
          tyranny.

          Frankly, I'm sick and tired of the lies.

          So if you stick around, I'll tell you more
          about these new and deadly threats in my
          next emails.

          You and your family deserve the truth, and
          that's exactly what you'll see with my Inner
          Circle newsletter.

          But there's just one issue.

          Those in power don't want you to know
          what's actually going on in this world.

          So do me a favor?

          Reply "yes" to this email so I know you
          got it.

          That'll help make sure my messages go to
          your Inbox, so you don't miss any critical
          alerts.


          Stay ready,
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          AJ

          P.S. Tomorrow I'll tell you more about the
          chemical warfare agent that was just
          discovered in a popular drink. This one will
          shock you…




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